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                                                                   FILED IN THE
                                                               U.S. DISTRICT COURT
                                                         EASTERN DISTRICT OF WASHINGTON



                                                         Aug 25, 2021
                                                              SEAN F. MCAVOY, CLERK
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